         Case 1:21-cr-00175-TJK Document 447 Filed 08/29/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

               v.                                     Case No. 1:21-cr-175-TJK

JOSEPH BIGGS, et al.,
               Defendants.

         BIGGS MOTION TO JOIN ZACHARY REHL’S MOTION TO DISMISS
                ON FIRST AMENDMENT GROUNDS AT ECF 439

      Defendant Joseph Biggs respectfully moves for leave to join defendant Zachary Rehl’s

motion to dismiss on first amendment grounds filed August 19, 2022 (ECF 439). Law governing

protected speech issues for Biggs and Rehl is the same. Moreover, except for allegations that

Biggs breached a barrier, and Biggs’ time of entering the Capitol, their cases present very similar

facts on speech issues. Biggs does not intend to file any separate brief or supplement or present

oral argument on Rehl’s motion. Therefore, and for good cause shown, Biggs asks to join in all

applicable respects Rehl’s motion to dismiss filed at ECF 439.

                                            Respectfully submitted,

                                            COUNSEL FOR JOSEPH RANDALL BIGGS




Dated: August 29, 2022                       By: /s/ J. Daniel Hull
                                             JOHN DANIEL HULL
                                             DC Bar No. 323006
                                             California Bar No. 222862
                                             HULL MCGUIRE PC
                                             1420 N Street, N.W.
                                             Washington, D.C. 20005
                                             (202) 429-6520 office
                                             (619) 895-8336 cell
                                             jdhull@hullmcguire.com
         Case 1:21-cr-00175-TJK Document 447 Filed 08/29/22 Page 2 of 2




                               CERTIFICATE OF SERVICE

      The undersigned certifies that on August 29, 2022 he served a true and correct copy of

the foregoing defendant Biggs’ Motion to Join Zachary Rehl’s Motion to Dismiss on First

Amendment Grounds at ECF 439 upon all counsel of record via the Electronic Case Filing

(ECF) system.


                                            By: /s/ J. Daniel Hull
                                            JOHN DANIEL HULL
                                            DC Bar No. 323006
                                            California Bar No. 222862
                                            HULL MCGUIRE PC
                                            1420 N Street, N.W.
                                            Washington, D.C. 20005
                                            (202) 429-6520
                                            jdhull@hullmcguire.com
